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                           Exhibit 1
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     ABS HEALTHCARE SERVICES, LLC, AND HEALTH OPTION ONE, LLC (collectively, “ICD”)
            RELATED CIVIL CASES AND ARBITRATIONS FILED SINCE APRIL 2020
                                 (Parties in common with No. 21-CV-60859-RKA are listed in Bold Italics)

RELATED CIVIL CASE NO. 1
Court / Case No. / Judge /
                                   Parties                   Claims Asserted                           Allegations                        Status
       Filing Date
Broward County Circuit       ABS Healthcare         COUNT I                                 Paragraph 27:                        Prodigy/Beeman/Stormont
Court                        Services, LLC and      Breach of the January 19, 2019          “These Defendants used Prodigy       motion to compel
                             Health Option One,     Agreement for Payment of Fees,          and Infinix surreptitiously and in   arbitration (and Andrew
No. CACE-20-006195           LLC                    Compensation and Residuals (as          violation of the Agreement to        Shader/Corey
                             v.                     amended January 29, 2019)               illicitly compete with ICD and       Shader/NHS/AMC joinder
Chief Judge Jack Tuter       Andrew Shader,                                                 steal ICD’s proprietary trade        of motion) GRANTED
                             Corey Shader,          COUNT II                                secrets, business model, agents      on May 4, 2021.
Filed: April 9, 2020         National Health        Tortious Interference with Agent        and customer base. Upon
                                                                                                                                 Order Compelling
                             Solutions, Inc.        Contracts                               information and belief, Defendants
                                                                                                                                 Arbitration attached as
Complaint and docket         (“NHS”), Infinix                                               have funded other companies for a
                                                                                                                                 EXHIBIT [A-3]
attached as EXHIBITS         Media LLC              COUNT III                               similar purpose and have provided
[A-1 and A-2]                (“Infinix”), Prodigy   Tortious Interference with Business     financial incentives to agents to
                             Health Group, LLC      Relationships (prospective              convince them to violate their
                             (“Prodigy”), Adam      customers)                              contracts with Plaintiffs.”
                             Beeman, Joy
                             Stormont, Alliance     COUNT IV
                             Marketing              Misappropriation of Trade Secrets,
                             Corporation            Fla. Stat. Chap. 688, Florida Uniform
                             (“AMC”)                Trade Secrets Act (“FUTSA”)

                                                    COUNT V
                                                    Violation of Non-Compete, Fla. Stat.
                                                    Chap. 542

                                                    COUNT VI
                                                    Declaratory Judgment
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RELATED CIVIL CASE NO. 2
Court / Case No. / Judge
                                  Parties                    Claims Asserted                           Allegations                         Status
     / Filing Date
Miami-Dade County          ABS Healthcare          COUNT I                                 Paragraph 23:                          On March 17, 2021, the
Circuit Court              Services, LLC and       Conspiracy to Breach the ICD            “Defendants have conspired with        Third District Court of
                           Health Option One,      Exclusive Agent Agreements              others, including Andrew Shader,       Appeal REMANDED
No. 2020-008460 CA 44      LLC                                                             Corey Shader, National Health          WITH INSTRUCTIONS
                           v.                      COUNT II                                Solutions, Inc. (“NHS”), and           to grant motion to compel
Hon. William Thomas        Kratos Investments      Tortious Interference With Agent        exclusive licensed agents of ICD       arbitration as to ALL
                           LLC, Health Team        Agreements                              (identified below), to steal ICD’s     claims.
Filed: April 15, 2020      One LLC, Complete                                               business by, among other things,
                           Vital Care LLC, Vital   COUNT III                               setting up sham, competing             On April 25, 2021, the
Complaint and docket       Care One LLC, Health    Tortious Interference with Business     entities, interfering with the ICD     trial court GRANTED
attached as EXHIBITS       Essential Care LLC,     Relationships (prospective customers)   Exclusive Agent Agreements,            Defendants’ Motion to
[B-1 and B-2]              and Richard Ryscik                                              illicitly soliciting ICD’s customers   Compel Arbitration.
                                                   COUNT IV                                and prospective customers, and
                                                   Misappropriation of Trade Secrets       misappropriating ICD’s                 See Related Arbitration
                                                                                           confidential information and           Case No. 3.
                                                   COUNT V                                 trade secrets.”
                                                   Conspiracy to Misappropriate Trade                                             Third District Court of
                                                                                           Paragraph 26:
                                                   Secrets (with the Agents)                                                      Appeal Opinion attached
                                                                                           “In order to steal ICD’s business,
                                                                                                                                  as EXHIBIT B-3; Order
                                                                                           Kratos has appointed numerous
                                                                                                                                  Compelling Arbitration
                                                                                           Agents who have ICD Exclusive
                                                                                                                                  attached as EXHIBIT
                                                                                           Agent Agreements and, in
                                                                                                                                  B-4.
                                                                                           conspiracy with Andrew Shader,
                                                                                           Corey Shader, and NHS,
                                                                                           knowingly solicited and induced
                                                                                           such Agents to violate and breach
                                                                                           their contractual and fiduciary
                                                                                           obligations to ICD. Among those
                                                                                           agents are Barbara Baca, James
                                                                                           Hardill, Bradley Tierney, Francis
                                                                                           Desola, Alex Geissler, Adam
                                                                                           Bassell, Harry Slater, and Ryan
                                                                                           Kelty.”




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RELATED ARBITRATION CASE NO. 3
Court / Case No. / Judge
                                  Parties                  Claims Asserted                           Allegations                            Status
     / Filing Date
American Arbitration       ABS Healthcare          COUNT I                             Paragraph 20:                              Pending
Association (“AAA”)        Services, LLC and       Conspiracy to Breach the ICD        “Respondents have engaged in, and
Commercial Arbitration     Health Option One,      Exclusive Agent Agreements          continue to engage in, a scheme to
                           LLC                                                         steal ICD’s business. To carry out the
No. 01-21-0003-7170        v.                      COUNT II                            scheme, the Respondents have
                           Kratos Investments      Tortious Interference With Agent    conspired, and continue to conspire,
Arbitrator: TBD            LLC, Health Team        Agreements                          with others, including Andrew Shader,
                           One LLC, Complete                                           Corey Shader, National Health
Filed: May 4, 2021         Vital Care LLC, Vital   COUNT III                           Solutions, Inc. (“NHS”), and
                           Care One LLC, Health    Tortious Interference with          exclusive licensed agents of ICD
Demand for Arbitration     Essential Care LLC,     Business Relationships              (identified below), to steal ICD’s
attached as EXHIBIT        and Richard Ryscik      (prospective customers)             business by, among other things,
[C]                                                                                    setting up sham, competing entities,
                                                   COUNT IV                            interfering with the ICD Exclusive
                                                   Misappropriation of Trade Secrets   Agent Agreements, illicitly soliciting
                                                                                       ICD’s customers and prospective
                                                   COUNT V                             customers, improperly interfering with
                                                   Conspiracy to Misappropriate        ICD’s business relationships … and
                                                   Trade Secrets (with the Agents)     misappropriating ICD’s confidential
                                                                                       information and trade secrets.
                                                   COUNT VI
                                                                                       Paragraph 23:
                                                   Injunctive Relief
                                                                                       In order to steal ICD’s business, Kratos
                                                                                       has appointed numerous Agents who
                                                                                       have ICD Exclusive Agent Agreements
                                                                                       and, in conspiracy with Andrew
                                                                                       Shader, Corey Shader, and NHS,
                                                                                       knowingly solicited and induced such
                                                                                       Agents to violate and breach their
                                                                                       contractual and fiduciary obligations
                                                                                       to ICD. Among those agents are
                                                                                       Barbara Baca, James Hardill, Bradley
                                                                                       Tierney, Francis Desola, Alex
                                                                                       Geissler, Adam Bassell, Harry Slater,
                                                                                       and Ryan Kelty.




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RELATED CIVIL CASE NO. 4
Court / Case No. / Judge
                                      Parties                      Claims Asserted                         Allegations                       Status
     / Filing Date
Broward County Circuit          ABS Healthcare           COUNT I                                 Paragraph 30:                      Defendant’s Motion to
Court                           Services, LLC and        Breach of Agent Agreement               “Working in concert with           Stay or Abate Proceedings
                                Health Option One,       COUNT II                                others, including Corey Shader,    Until Resolution of Prior
No. CACE-20-006862              LLC                      Permanent Injunctive Relief (based on   Andrew Shader, Adam Beeman,        Pending California Action
                                v.                       Agent Agreement)                        Joy Stormont, Infinix Media        GRANTED on June 10,
Hon. Sandra Perlman             Bradley Tierney          COUNT III                               LLC, Prodigy Health Group          2020.
                                                         Permanent Injunctive Relief (under      LLC, National Health
                                                                                                                                    See Related Civil Case
Filed: April 22, 2020           (ALLEGED                 FUTSA)                                  Solutions, Inc., Alliance
                                                                                                                                    No. 5, below.
                                FORMER ICD               COUNT IV                                Marketing Corporation, Kratos
Complaint and docket            AGENT)                   Misappropriation of Trade Secrets –     Investments LLC, Health Team
attached as EXHIBITS                                     Disgorgement                            One LLC, Complete Vital Care
[D-1 and D-2]                                            COUNT V                                 LLC, Vital Care One LLC,           Order Staying Case
                                                         Tortious Interference with Other        Health Essential Care LLC, and     attached as EXHIBIT
                                                         Agents’ Agent Agreements                Richard Ryscik and the             D-3.
                                                         COUNT VI                                following agents: Alex Geissler,
                                                         Unjust Enrichment – Constructive        Harry Slater, Adam Bassell,
                                                         Trust (Trade Secrets)                   Francis Desola, Barbara Baca,
                                                                                                 Ryan Kelty, and James Hardill,
                                                                                                 Defendant Tierney has engaged
                                                                                                 in a scheme to steal ICD’s
                                                                                                 business.
RELATED CIVIL CASE NO. 5
  Court / Case No. / Judge /
                                                     Parties                              Claims Asserted                                 Status
         Filing Date
Superior Court of California,        Legacy Insurance Solutions LLC,        Action for declaratory judgment and             On July 20, 2020, Judge Karlan
County of Los Angeles                and Bradley Tierney                    injunction by Bradley Tierney, an alleged       entered a TEMPORARY
                                     v.                                     former ICD agent, that the ICD Agent            RESTRAINING ORDER
No. 20SMCV00617                      ABS Healthcare Services, LLC,          Agreement is an illegal and unenforceable       precluding ABS Healthcare
                                     Health Option One, LLC, and            restraint of trade.                             Services, LLC and Health
Hon. Craig D. Karlan                 DOES 1-20                                                                              Option One, LLC, from
                                                                                                                            enforcing any of the restrictive
Filed: April 23, 2020                                                                                                       provisions or covenants in the
                                                                                                                            Agent Agreement.
Complaint and docket
                                                                                                                            TRO attached as EXHIBIT E-3.
attached as EXHIBITS [E-1
and E-2]



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RELATED CIVIL CASE NO. 6
Court / Case No. / Judge
                                  Parties                  Claims Asserted                           Allegations                       Status
     / Filing Date
Broward County Circuit      ABS Healthcare       COUNT I                                  Paragraph 30:                      On July 6, 2020, plaintiffs
Court                       Services, LLC and    Breach of Agent Agreement                “Working in concert with           filed a Notice of
                            Health Option One,   COUNT II                                 others, including Corey Shader,    Voluntary Dismissal
No. CACE-20-006863          LLC                  Permanent Injunctive Relief (based on    Andrew Shader, Adam Beeman,        Without Prejudice of
                            v.                   Agent Agreement)                         Joy Stormont, Infinix Media        Counts I and V.
Hon. Nicholas Lopane        James Hardill        COUNT III                                LLC, Prodigy Health Group
                                                                                                                             On July 28, 2020, Motion
                                                 Permanent Injunctive Relief (under       LLC, National Health
                                                                                                                             to Compel Arbitration
Filed: April 22, 2020       (FORMER ICD          FUTSA)                                   Solutions, Inc., Alliance
                                                                                                                             GRANTED.
                            AGENT)               COUNT IV                                 Marketing Corporation, Kratos
Complaint and docket                             Misappropriation of Trade Secrets –      Investments LLC, Health Team       On March 11, 2021,
attached as EXHIBITS                             Disgorgement                             One LLC, Complete Vital Care       Fourth District Court of
[F-1 and F-2]                                    COUNT V                                  LLC, Vital Care One LLC,           Appeal AFFIRMED.
                                                 Tortious Interference with Other         Health Essential Care LLC, and
                                                 Agents’ Agent Agreements                 Richard Ryscik and the             On October 2, 2020,
                                                 COUNT VI                                 following agents: Alex Geissler,   James Hardill filed
                                                 Unjust Enrichment – Constructive         Bradley Tierney, Adam Bassell,     Arbitration, AAA Case
                                                 Trust (Trade Secrets)                    Francis Desola, Barbara Baca,      No. 01-20-0015-1104.
                                                                                          Harry Slater, and Ryan Kelty,
                                                                                          Defendant Hardill has engaged      See Related Arbitration
                                                                                          in a scheme to steal ICD’s         Case No. 7 below.
                                                                                          business.
                                                                                                                             Order Compelling
                                                                                                                             Arbitration attached as
                                                                                                                             EXHIBIT F-3.__
RELATED ARBITRATION CASE NO. 7
Court / Case No. / Judge
                                  Parties                              Arbitration Claims Asserted                                     Status
       / Filing Date
AAA Commercial              James Hardill        Arbitration action by James Hardill, a former ICD agent, for declaratory    Preliminary Hearing held
Arbitration                 v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable        on April 29, 2021.
                            ABS Healthcare       restraint of trade and that Mr. Hardill did not receive or misappropriate
No. 01-20-0015-1104         Services, LLC and    ICD trade secret information.
                            Health Option One,
Arbitrator: John Arrastia   LLC

Filed: October 2, 2020

Complaint and docket
attached as EXHIBIT
[G]

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RELATED CIVIL CASE NO. 8
Court / Case No. / Judge
                                  Parties                  Claims Asserted                          Allegations                        Status
     / Filing Date
Broward County Circuit      ABS Healthcare       COUNT I                                  Paragraph 30:                      On July 6, 2020, plaintiffs
Court                       Services, LLC and    Breach of Agent Agreement                “Working in concert with           filed a Notice of
                            Health Option One,   COUNT II                                 others, including Corey Shader,    Voluntary Dismissal
No. CACE-20-006870          LLC                  Permanent Injunctive Relief (based on    Andrew Shader, Adam Beeman,        Without Prejudice of
                            v.                   Agent Agreement)                         Joy Stormont, Infinix Media        Counts I and V.
Hon. Nicholas Lopane        Francis DeSola       COUNT III                                LLC, Prodigy Health Group
                                                                                                                             On July 28, 2020, Motion
                                                 Permanent Injunctive Relief (under       LLC, National Health
                                                                                                                             to Compel Arbitration
Filed: April 22, 2020       (FORMER ICD          FUTSA)                                   Solutions, Inc., Alliance
                                                                                                                             GRANTED.
                            AGENT)               COUNT IV                                 Marketing Corporation, Kratos
Complaint and docket                             Misappropriation of Trade Secrets –      Investments LLC, Health Team       On March 11, 2021,
attached as EXHIBITS                             Disgorgement                             One LLC, Complete Vital Care       Fourth District Court of
[H-1 and H-2]                                    COUNT V                                  LLC, Vital Care One LLC,           Appeal AFFIRMED.
                                                 Tortious Interference with Other         Health Essential Care LLC, and
                                                 Agents’ Agent Agreements                 Richard Ryscik and the             On October 22, 2020,
                                                 COUNT VI                                 following agents: James            Francis DeSola filed
                                                 Unjust Enrichment – Constructive         Hardill, Bradley Tierney, Adam     Arbitration, AAA Case
                                                 Trust (Trade Secrets)                    Bassell, Alex Geissler, Barbara    No. 01-20-0015-3776.
                                                                                          Baca, Harry Slater, and Ryan
                                                                                          Kelty, Defendant Desola has        See Related Arbitration
                                                                                          engaged in a scheme to steal       Case No. 9 below.
                                                                                          ICD’s business.”
                                                                                                                             Order Compelling
                                                                                                                             Arbitration attached as
                                                                                                                             EXHIBIT H-3.
RELATED ARBITRATION CASE NO. 9
Court / Case No. / Judge
                                  Parties                              Arbitration Claims Asserted                                     Status
       / Filing Date
AAA Commercial              Francis DeSola       Arbitration action by Francis Desola, a former ICD agent, for declaratory   Preliminary Hearing held
Arbitration                 v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable        on April 29, 2021.
                            ABS Healthcare       restraint of trade and that Mr. Desola did not receive or misappropriate
No. 01-20-0015-3776         Services, LLC and    ICD trade secret information.
                            Health Option One,
Arbitrator: John Arrastia   LLC

Filed: October 22, 2020

Demand for Arbitration
attached as EXHIBIT [I]


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RELATED CIVIL CASE NO. 10
Court / Case No. / Judge
                                 Parties                  Claims Asserted                           Allegations                         Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                  Paragraph 30:                        On May 12, 2020, Ryan
Court                      Services, LLC and    Breach of Agent Agreement                “Working in concert with             Kelty filed a Motion to
                           Health Option One,   COUNT II                                 others, including Corey Shader,      Compel Arbitration.
No. CACE-20-006868         LLC                  Permanent Injunctive Relief (based on    Andrew Shader, Adam Beeman,
                           v.                   Agent Agreement)                         Joy Stormont, Infinix Media          On September 1, 2020,
Hon. Michele Towbin        Ryan Kelty           COUNT III                                LLC, Prodigy Health Group            plaintiffs filed a Notice of
Singer                                          Permanent Injunctive Relief (under       LLC, National Health                 Voluntary Dismissal
                           (FORMER ICD          FUTSA)                                   Solutions, Inc., Alliance            Without Prejudice of
Filed: April 22, 2020      AGENT)               COUNT IV                                 Marketing Corporation, Kratos        Counts I and V.
                                                Misappropriation of Trade Secrets –      Investments LLC, Health Team
Complaint and docket                            Disgorgement                             One LLC, Complete Vital Care         On March 19, 2021, Ryan
attached as EXHIBITS                            COUNT V                                  LLC, Vital Care One LLC,             Kelty filed Arbitration,
[J-1 and J-2]                                   Tortious Interference with Other         Health Essential Care LLC, and       AAA Case No. 01-21-
                                                Agents’ Agent Agreements                 Richard Ryscik and the               0002-3743.
                                                COUNT VI                                 following agents: Alex Geissler,
                                                Unjust Enrichment – Constructive         Bradley Tierney, Adam Bassell,       See Related Arbitration
                                                Trust (Trade Secrets)                    Francis Desola, Barbara Baca,        Case No 11 below.
                                                                                         Harry Slater, and James
                                                                                         Hardill, Defendant Kelty has
                                                                                         engaged in a scheme to steal
                                                                                         ICD’s business.”
RELATED ARBITRATION CASE NO. 11
Court / Case No. / Judge
                                 Parties                              Arbitration Claims Asserted                                       Status
       / Filing Date
AAA Commercial             Ryan Kelty           Arbitration action by Ryan Kelty, a former ICD agent, for declaratory         Pending
Arbitration                v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable
                           ABS Healthcare       restraint of trade and that Mr. Kelty did not receive or misappropriate ICD
No. 01-21-0002-3743        Services, LLC and    trade secret information.
                           Health Option One,
Arbitrator: TBA            LLC

Filed: March 19, 2021

Complaint and docket
attached as EXHIBIT
[K]




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RELATED CIVIL CASE NO. 12
Court / Case No. / Judge
                                 Parties                  Claims Asserted                            Allegations                       Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                   Paragraph 30:                      On June 18, 2020, Alex
Court                      Services, LLC and    Breach of Agent Agreement                 “Working in concert with           Geissler filed a Motion to
                           Health Option One,   COUNT II                                  others, including Corey Shader,    Compel Arbitration.
No. CACE-20-006873         LLC                  Permanent Injunctive Relief (based on     Andrew Shader, Adam Beeman,
                           v.                   Agent Agreement)                          Joy Stormont, Infinix Media        On July 14, 2020,
Hon. Jeffrey R. Levenson   Alex Geissler        COUNT III                                 LLC, Prodigy Health Group          plaintiffs filed a Notice of
                                                Permanent Injunctive Relief (under        LLC, National Health               Voluntary Dismissal
Filed: April 22, 2020      (FORMER ICD          FUTSA)                                    Solutions, Inc., Alliance          Without Prejudice of
                           AGENT)               COUNT IV                                  Marketing Corporation, Kratos      Counts I and V.
Complaint and docket                            Misappropriation of Trade Secrets –       Investments LLC, Health Team
attached as EXHIBITS                            Disgorgement                              One LLC, Complete Vital Care       On March 19, 2021, Alex
[L-1 and L-2]                                   COUNT V                                   LLC, Vital Care One LLC,           Geissler filed Arbitration,
                                                Tortious Interference with Other          Health Essential Care LLC, and     AAA Case No. 01-21-
                                                Agents’ Agent Agreements                  Richard Ryscik and the             0002-3741.
                                                COUNT VI                                  following agents: James
                                                Unjust Enrichment – Constructive          Hardill, Bradley Tierney, Adam     See Related Arbitration
                                                Trust (Trade Secrets)                     Bassell, Francis Desola,           Case No 13 below.
                                                                                          Barbara Baca, Harry Slater,
                                                                                          and Ryan Kelty, Defendant
                                                                                          Geissler has engaged in a
                                                                                          scheme to steal ICD’s
                                                                                          business.”
RELATED ARBITRATION CASE NO. 13
Court / Case No. / Judge
                                 Parties                              Arbitration Claims Asserted                                      Status
       / Filing Date
AAA Commercial             Alex Geissler        Arbitration action by Alex Geissler, a former ICD agent, for declaratory     Pending
Arbitration                v.                   relief that the ICD Agent Agreement is an unlawful and unenforceable
                           ABS Healthcare       restraint of trade and that Mr. Geissler did not receive or misappropriate
No. 01-21-0002-3741        Services, LLC and    ICD trade secret information.
                           Health Option One,
Arbitrator: TBA            LLC

Filed: March 19, 2021

Demand for Arbitration
attached as
EXHIBIT [M]



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RELATED CIVIL CASE NO. 14
Court / Case No. / Judge
                                 Parties                  Claims Asserted                        Allegations                       Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                 Paragraph 30:                    No service of process.
Court                      Services, LLC and    Breach of Agent Agreement               “Working in concert with
                           Health Option One,   COUNT II                                others, including Corey
No. CACE-20-006872         LLC                  Permanent Injunctive Relief (based on   Shader, Andrew Shader, Adam
                           v.                   Agent Agreement)                        Beeman, Joy Stormont, Infinix
Hon. Martin J. Bidwill     Adam Bassell         COUNT III                               Media LLC, Prodigy Health
                                                Permanent Injunctive Relief (under      Group LLC, National Health
Filed: April 22, 2020      (FORMER ICD          FUTSA)                                  Solutions, Inc., Alliance
                           AGENT)               COUNT IV                                Marketing Corporation, Kratos
Complaint and docket                            Misappropriation of Trade Secrets –     Investments LLC, Health
attached as EXHIBITS                            Disgorgement                            Team One LLC, Complete
[N-1 and N-2]                                   COUNT V                                 Vital Care LLC, Vital Care One
                                                Tortious Interference with Other        LLC, Health Essential Care
                                                Agents’ Agent Agreements                LLC, and Richard Ryscik and
                                                COUNT VI                                the following agents: James
                                                Unjust Enrichment – Constructive        Hardill, Bradley Tierney,
                                                Trust (Trade Secrets)                   Francis Desola, Alex Geissler,
                                                                                        Barbara Baca, Harry Slater,
                                                                                        and Ryan Kelty, Defendant
                                                                                        Bassell has engaged in a
                                                                                        scheme to steal ICD’s
                                                                                        business.”




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RELATED CIVIL CASE NO. 15
Court / Case No. / Judge
                                 Parties                  Claims Asserted                         Allegations                      Status
     / Filing Date
                                                                                                                          No service of process.
Broward County Circuit     ABS Healthcare       COUNT I                                 Paragraph 30:
Court                      Services, LLC and    Breach of Agent Agreement               “Working in concert with
                           Health Option One,   COUNT II                                others, including Corey Shader,
No. CACE-20-006874         LLC                  Permanent Injunctive Relief (based on   Andrew Shader, Adam Beeman,
                           v.                   Agent Agreement)                        Joy Stormont, Infinix Media
Hon. William W. Haury,     Barbara Baca         COUNT III                               LLC, Prodigy Health Group
Jr.                                             Permanent Injunctive Relief (under      LLC, National Health
                           (ALLEGED             FUTSA)                                  Solutions, Inc., Alliance
Filed: April 22, 2020      FORMER ICD           COUNT IV                                Marketing Corporation, Kratos
                           AGENT)               Misappropriation of Trade Secrets –     Investments LLC, Health Team
Complaint and docket                            Disgorgement                            One LLC, Complete Vital Care
attached as EXHIBITS                            COUNT V                                 LLC, Vital Care One LLC,
[O-1 and O-2]                                   Tortious Interference with Other        Health Essential Care LLC, and
                                                Agents’ Agent Agreements                Richard Ryscik and the
                                                COUNT VI                                following agents James Hardill,
                                                Unjust Enrichment – Constructive        Bradley Tierney, Francis
                                                Trust (Trade Secrets)                   Desola, Alex Geissler, Adam
                                                                                        Bassell, Harry Slater, and Ryan
                                                                                        Kelty, Defendant Baca has
                                                                                        engaged in a scheme to steal
                                                                                        ICD’s business.”




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RELATED CIVIL CASE NO. 16
Court / Case No. / Judge
                                 Parties                  Claims Asserted                         Allegations                       Status
     / Filing Date
Broward County Circuit     ABS Healthcare       COUNT I                                 Paragraph 28:                     On October 6, 2020,
Court                      Services, LLC and    Breach of Agent Agreement               “Working in concert with          plaintiffs filed a Notice of
                           Health Option One,   COUNT II                                others, including Corey Shader,   Voluntary Dismissal
No. CACE-20-006865         LLC                  Permanent Injunctive Relief (based on   Andrew Shader, Adam Beeman,       Without Prejudice.
                           v.                   Agent Agreement)                        Joy Stormont, Infinix Media
Hon. Carlos Augusto        Harry Slater         COUNT III                               LLC, Prodigy Health Group
Rodriguez                                       Permanent Injunctive Relief (under      LLC, National Health
                           (ALLEGED             FUTSA)                                  Solutions, Inc., Alliance
Filed: April 22, 2020      FORMER ICD           COUNT IV                                Marketing Corporation, Kratos
                           AGENT)               Misappropriation of Trade Secrets –     Investments LLC, Health Team
Complaint and docket                            Disgorgement                            One LLC, Complete Vital Care
attached as EXHIBITS                            COUNT V                                 LLC, Vital Care One LLC,
[P-1 and P-2]                                   Tortious Interference with Other        Health Essential Care LLC, and
                                                Agents’ Agent Agreements                Richard Ryscik and the
                                                COUNT VI                                following agents Alex Geissler,
                                                Unjust Enrichment – Constructive        Bradley Tierney, Adam Bassell,
                                                Trust (Trade Secrets)                   Francis Desola, Barbara Baca,
                                                                                        Ryan Kelty, and James Hardill,
                                                                                        Defendant Slater has engaged
                                                                                        in a scheme to steal ICD’s
                                                                                        business.”




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              Case 0:21-cv-60859-RKA Document 34-1 Entered on FLSD Docket 06/04/2021 Page 13 of 13


RELATED CIVIL CASE NO. 17
                                                    Counterclaims Alleged by ABS
                                                    Healthcare Services, LLC and
Court / Case No. / Judge
                                  Parties          Health Option One, LLC, Against      Counterclaim Allegations                   Status
     / Filing Date
                                                  Beeman’s Future Inc. and C Shader
                                                          Investments LLC
Broward County Circuit     Empire Health          COUNT II                            ABS/HOO Counterclaim               Pending
Court                      Consultants LLC;       Civil Conspiracy                    Paragraph 1:
                           Beeman’s Future                                            “This action arises from
No. CACE-21-002328         Inc.; Raven One        COUNT III                           Counter-defendants’
                           Investments, LLC;      Aiding and Abetting                 perpetration of a scheme to
Chief Judge Jack Tuter     Imperial Health                                            illicitly compete against ICD,
                           Group Limited          COUNT IV                            including by setting up and
Filed: February 3, 2021    Liability Company;     Permanent Injunction                operating illegally-licensed
                           Prodigy Health                                             insurance agencies. As part of
ABS/HOO April 8, 2021      Insurance Associates                                       this deceptive and fraudulent
counterclaim and case      LLC; C Shader                                              scheme, Counter-defendants
docket attached as         Investments LLC;                                           arranged for insurance
EXHIBIT [Q-1 and Q-2]      Jamie Ryscik; Adrian                                       agencies to apply and receive
                           Raventos; Albert                                           licenses from the State of
                           Milano; and Robert                                         Florida under the guise that the
                           Chamagua-Struogo                                           agencies were owned and
                           v.                                                         operated by persons lawfully
                           ABS Healthcare                                             entitled to own and operate
                           Services, LLC;                                             them. In truth, the licensed
                           Health Option One,                                         agencies are owned and
                           LLC; Ocean                                                 controlled by a felon who has
                           Consulting Group,                                          been found guilty of trafficking
                           Inc.; Seth Cohen;                                          in opioids and who is legally
                           Arnold Cohen; and                                          barred from owning or
                           Robert Hodes                                               operating a licensed insurance
                                                                                      agency.”




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